                  Case 2:14-cr-00128-RMP                    ECF No. 83                filed 06/01/21         PageID.318 Page 1 of 6
  2$2%       5HY -XGJPHQWLQD&ULPLQDO&DVH
                                                                                                                                           FILED IN THE
                 6KHHW5HYLVHGE\:$('                                                                                    U.S. DISTRICT COURT
                                                                                                                                 EASTERN DISTRICT OF WASHINGTON


                                               81,7('67$7(6',675,&7&2857                                                       Jun 01, 2021
                                                 (DVWHUQ'LVWULFW RI :DVKLQJWRQ                                                  SEAN F. MCAVOY, CLERK


            81,7('67$7(62)$0(5,&$                                            AMENDED JUDGMENT IN A CRIMINAL CASE
                       V.
                                                                               &DVH1XPEHU           2:14-CR-00128-RMP-1
     * DUSTIN MASON BANDY, a/k/a DUSTIN M.
     MASON                                                                     8601XPEHU            17526-085

                                                                                      Matthew A. Campbell
                                                                               'HIHQGDQW¶V$WWRUQH\
Date of Original Judgment                      08/17/2015




  THE DEFENDANT
  ✔SOHDGHGJXLOW\WRFRXQW V
  G                                     1 of the Indictment
  G SOHDGHGQRORFRQWHQGHUHWRFRXQW V
     ZKLFKZDVDFFHSWHGE\WKHFRXUW
  G ZDVIRXQGJXLOW\RQFRXQW V
     DIWHUDSOHDRIQRWJXLOW\

  7KHGHIHQGDQWLVDGMXGLFDWHGJXLOW\RIWKHVHRIIHQVHV

  Title & Section                    Nature of Offense                                                                          Offense Ended        Count
 18 U.S.C. § 2251(a)               Production of Child Pornography                                                                 12/31/13             1




         7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHVWKURXJK                       6         RIWKLVMXGJPHQW7KHVHQWHQFHLVLPSRVHGSXUVXDQWWR
  WKH6HQWHQFLQJ5HIRUP$FWRI
  G 7KHGHIHQGDQWKDVEHHQIRXQGQRWJXLOW\RQFRXQW V
  ✔&RXQW V
  G                2 and 3 of the Indictment                  G LV       ✔DUHGLVPLVVHGRQWKHPRWLRQRIWKH8QLWHG6WDWHV
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           ,WLVRUGHUHGWKDWWKHGHIHQGDQWPXVWQRWLI\WKH8QLWHG6WDWHVDWWRUQH\IRUWKLVGLVWULFWZLWKLQGD\VRIDQ\FKDQJHRIQDPHUHVLGHQFH
  RUPDLOLQJDGGUHVVXQWLODOOILQHVUHVWLWXWLRQFRVWVDQGVSHFLDODVVHVVPHQWVLPSRVHGE\WKLVMXGJPHQWDUHIXOO\SDLG,IRUGHUHGWRSD\UHVWLWXWLRQ
  WKHGHIHQGDQWPXVWQRWLI\WKHFRXUWDQG8QLWHG6WDWHVDWWRUQH\RIPDWHULDOFKDQJHVLQHFRQRPLFFLUFXPVWDQFHV

                                                                                                      5/28/2021
                                                               'DWHRI,PSRVLWLRQRI-XGJPHQW




                                                               6LJQDWXUHRI-XGJH




                                                              The Honorable Rosanna Malouf Peterson                Judge, U.S. District Court
                                                               1DPHDQG7LWOHRI-XGJH
                                                               


                                                                                                    6/01/2021
                                                               'DWH
                                                               
                  Case 2:14-cr-00128-RMP                  ECF No. 83              filed 06/01/21     PageID.319 Page 2 of 6
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              6KHHW²,PSULVRQPHQW

                                                                                                           -XGJPHQW²3DJH   2   RI   6
'()(1'$17 * DUSTIN MASON BANDY, a/k/a DUSTIN M. MASON
&$6(180%(5 2:14-CR-00128-RMP-1


                                                                IMPRISONMENT

        7KHGHIHQGDQWLVKHUHE\FRPPLWWHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV%XUHDXRI3ULVRQVWREHLPSULVRQHGIRUD
WRWDOWHUPRI      180 months




  ✔
  G       7KHFRXUWPDNHVWKHIROORZLQJUHFRPPHQGDWLRQVWRWKH%XUHDXRI3ULVRQV

 Defendant receive credit for the time served in federal custody prior to sentencing in this matter.
 Defendant shall participate in the BOP Inmate Financial Responsibility Program and participate in any sexual offender and mental health
 treatment programs that are available.

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  G       7KHGHIHQGDQWLVUHPDQGHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV0DUVKDO

  G       7KHGHIHQGDQWVKDOOVXUUHQGHUWRWKH8QLWHG6WDWHV0DUVKDOIRUWKLVGLVWULFW

          G     DW                                     G DP     G    SP        RQ                                        

          G     DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

  G       7KHGHIHQGDQWVKDOOVXUUHQGHUIRUVHUYLFHRIVHQWHQFHDWWKHLQVWLWXWLRQGHVLJQDWHGE\WKH%XUHDXRI3ULVRQV

          G     EHIRUHSPRQ                                              

          G     DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

          G     DVQRWLILHGE\WKH3UREDWLRQRU3UHWULDO6HUYLFHV2IILFH


                                                                      RETURN
,KDYHH[HFXWHGWKLVMXGJPHQWDVIROORZV




          'HIHQGDQWGHOLYHUHGRQ                                                             WR

DW                                                     ZLWKDFHUWLILHGFRS\RIWKLVMXGJPHQW



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                 Case 2:14-cr-00128-RMP                  ECF No. 83          filed 06/01/21       PageID.320 Page 3 of 6
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             6KHHW²6XSHUYLVHG5HOHDVH

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'()(1'$17 * DUSTIN MASON BANDY, a/k/a DUSTIN M. MASON
&$6(180%(5 2:14-CR-00128-RMP-1
                                                         SUPERVISED RELEASE
8SRQUHOHDVHIURPLPSULVRQPHQWWKHGHIHQGDQWVKDOOEHRQVXSHUYLVHGUHOHDVHIRUDWHUPRI              life



        7KHGHIHQGDQWPXVWUHSRUWWRWKHSUREDWLRQRIILFHLQWKHGLVWULFWWRZKLFKWKHGHIHQGDQWLVUHOHDVHGZLWKLQKRXUVRIUHOHDVHIURPWKH
FXVWRG\RIWKH%XUHDXRI3ULVRQV
7KHGHIHQGDQWVKDOOQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH
7KHGHIHQGDQWVKDOOQRWXQODZIXOO\SRVVHVVDFRQWUROOHGVXEVWDQFH7KHGHIHQGDQWVKDOOUHIUDLQIURPDQ\XQODZIXOXVHRIDFRQWUROOHG
VXEVWDQFH7KHGHIHQGDQWVKDOOVXEPLWWRRQHGUXJWHVWZLWKLQGD\VRIUHOHDVHIURPLPSULVRQPHQWDQGDWOHDVWWZRSHULRGLFGUXJWHVWV
WKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUW
G 7KHDERYHGUXJWHVWLQJFRQGLWLRQLVVXVSHQGHGEDVHGRQWKHFRXUW¶VGHWHUPLQDWLRQWKDWWKHGHIHQGDQWSRVHVDORZULVNRI
      IXWXUHVXEVWDQFHDEXVH(Check, if applicable.)

✔ 7KHGHIHQGDQWVKDOOQRWSRVVHVVDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUDQ\RWKHUGDQJHURXVZHDSRQ(Check, if applicable.)
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✔ 7KHGHIHQGDQWVKDOOFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU(Check, if applicable.)
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✔ 7KHGHIHQGDQWVKDOOFRPSO\ZLWKWKHUHTXLUHPHQWVRIWKH6H[2IIHQGHU5HJLVWUDWLRQDQG1RWLILFDWLRQ$FW
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      ZRUNVLVDVWXGHQWRUZDVFRQYLFWHGRIDTXDOLI\LQJRIIHQVH(Check, if applicable.)

G 7KHGHIHQGDQWVKDOOSDUWLFLSDWHLQDQDSSURYHGSURJUDPIRUGRPHVWLFYLROHQFH(Check, if applicable.)
        ,IWKLVMXGJPHQWLPSRVHVDILQHRUUHVWLWXWLRQLWLVDFRQGLWLRQRIVXSHUYLVHGUHOHDVHWKDWWKHGHIHQGDQWSD\LQDFFRUGDQFHZLWKWKH
6FKHGXOHRI3D\PHQWVVKHHWRIWKLVMXGJPHQW
         7KHGHIHQGDQWPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVWKDWKDYHEHHQDGRSWHGE\WKLVFRXUWDVZHOODVZLWKDQ\DGGLWLRQDO
                                                                                                                                    FRQGLWLRQV
RQWKHDWWDFKHGSDJH

                                          STANDARD CONDITIONS OF SUPERVISION
         WKHGHIHQGDQWVKDOOQRWOHDYHWKHMXGLFLDOGLVWULFWZLWKRXWWKHSHUPLVVLRQRIWKHFRXUWRUSUREDWLRQRIILFHU
         WKHGHIHQGDQWVKDOOUHSRUWWRWKHSUREDWLRQRIILFHULQDPDQQHUDQGIUHTXHQF\GLUHFWHGE\WKHFRXUWRUSUREDWLRQRIILFHU
         WKHGHIHQGDQWVKDOODQVZHUWUXWKIXOO\DOOLQTXLULHVE\WKHSUREDWLRQRIILFHUDQGIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHU
         WKHGHIHQGDQWVKDOOVXSSRUWKLVRUKHUGHSHQGHQWVDQGPHHWRWKHUIDPLO\UHVSRQVLELOLWLHV
         WKHGHIHQGDQWVKDOOZRUNUHJXODUO\DWDODZIXORFFXSDWLRQ XQOHVVH[FXVHGE\WKHSUREDWLRQRIILFHUIRUVFKRROLQJWUDLQLQJRURWKHU
          DFFHSWDEOHUHDVRQV
         WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWWHQGD\VSULRUWRDQ\FKDQJHLQUHVLGHQFHRUHPSOR\PHQW
         WKHGHIHQGDQWVKDOOUHIUDLQIURPH[FHVVLYHXVHRIDOFRKRODQGVKDOOQRWSXUFKDVHSRVVHVVXVHGLVWULEXWHRUDGPLQLVWHUDQ\
          FRQWUROOHGVXEVWDQFHRUDQ\SDUDSKHUQDOLDUHODWHGWRDQ\FRQWUROOHGVXEVWDQFHVH[FHSWDVSUHVFULEHGE\DSK\VLFLDQ
         WKHGHIHQGDQWVKDOOQRWIUHTXHQWSODFHVZKHUHFRQWUROOHGVXEVWDQFHVDUHLOOHJDOO\VROGXVHGGLVWULEXWHGRUDGPLQLVWHUHG
         WKHGHIHQGDQWVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQVHQJDJHGLQFULPLQDODFWLYLW\DQGVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQFRQYLFWHGRID
          IHORQ\XQOHVVJUDQWHGSHUPLVVLRQWRGRVRE\WKHSUREDWLRQRIILFHU
        WKHGHIHQGDQWVKDOOSHUPLWDSUREDWLRQRIILFHUWRYLVLWKLPRUKHUDWDQ\WLPHDWKRPHRUHOVHZKHUHDQGVKDOOSHUPLWFRQILVFDWLRQRIDQ\
          FRQWUDEDQGREVHUYHGLQSODLQYLHZRIWKHSUREDWLRQRIILFHU
        WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUZLWKLQVHYHQW\WZRKRXUVRIEHLQJDUUHVWHGRUTXHVWLRQHGE\DODZHQIRUFHPHQWRIILFHU
        WKHGHIHQGDQWVKDOOQRWHQWHULQWRDQ\DJUHHPHQWWRDFWDVDQ LQIRUPHURU DVSHFLDODJHQWRIDODZHQIRUFHPHQWDJHQF\ZLWKRX WWKH
          SHUPLVVLRQRIWKHFRXUWDQG

        DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKHGHIHQGDQWVKDOOQRWLI\WKLUGSDUWLHVRIULVNVWKDWPD\EHRFFDVLRQHGE\WKHGHIHQGDQW¶VFULPLQDO
          UHFRUGRUSHUVRQDOKLVWRU\RUFKDUDFWHULVWLFVDQGVKDOOSHUPLWWK HSUREDWLRQRIILFHUWRPDNHVXFKQRWLILFDWLRQVDQGWRFRQILUP WKH
          GHIHQGDQW¶VFRPSOLDQFHZLWKVXFKQRWLILFDWLRQUHTXLUHPHQW
             Case 2:14-cr-00128-RMP                   ECF No. 83       filed 06/01/21       PageID.321 Page 4 of 6
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'()(1'$17 * DUSTIN MASON BANDY, a/k/a DUSTIN M. MASON
&$6(180%(5 2:14-CR-00128-RMP-1

                                         SPECIAL CONDITIONS OF SUPERVISION
 14) You shall complete a sex offender evaluation, which may include psychological and polygraph testing. You shall pay according to
 your ability and allow the reciprocal release of information between the treatment provider and supervising officer.

 15) You shall actively participate and successfully complete an approved state-certified sex offender treatment program. You shall
 follow all lifestyle restrictions and treatment requirements of the program. You shall participate in special testing in the form of
 polygraphs, in order to measure compliance with the treatment program requirements. You shall allow reciprocal release of information
 between the supervising officer and the treatment provider. You shall pay for treatment and testing according to your ability.

 16) You shall abstain from the use of illegal controlled substances, and shall submit to urinalysis testing (which may include urinalysis
 or sweat patch), as directed by the supervising officer, but no more than 6 tests per month, in order to confirm continued abstinence
 from these substances.

 17) You shall undergo a substance abuse evaluation and, if indicated by a licensed/certified treatment provider, enter into and
 successfully complete an approved substance abuse treatment program, which could include inpatient treatment and aftercare. You
 shall contribute to the cost of treatment according to your ability to pay. You shall allow full reciprocal disclosure between the
 supervising officer and treatment provider.

 18) You shall live at an approved residence, and shall not change your living situation without advance approval of the supervising
 officer.

 19) You shall have no contact with the victims, referred to in the PSR as C.C, R.S., and D.J in person, by letter or other communication
 devices, audio or visual devices, or through a third party, unless authorized by the supervising officer. You shall not enter the premises
 or loiter within 1000 feet of the victim's residence or place of employment.

 20) You shall have no contact with any child under the age of 18, without the presence of an adult and approved in advance by the
 supervising officer. You shall immediately report any unauthorized contact with minor-aged children to the supervising officer.

 21) You shall be prohibited from possessing or manufacturing any material, including videos, magazines, photographs,
 computer-generated depictions, or any other media that depict sexually explicit conduct involving children or adults, as defined at 18
 U.S.C. § 2256(2). You shall not enter any establishment involved in the sex industry, including but not limited to adult bookstores,
 massage parlors, and strip clubs. You shall not utilize any sex-related adult telephone numbers. The supervising officer is authorized to
 monitor compliance in this area by obtaining relative records including but not limited to telephone, Internet, credit cards and bank
 statements.

 22) You shall not reside or loiter within 1000 feet of places where children congregate, which includes playgrounds, primary and
 secondary schools, city parks, daycare centers, and arcades.

 23) You shall register as a sex offender, according to the laws of the state in which you reside, are employed, or are attending school.
 You shall provide verification of compliance with this requirement to the supervising officer.

 24) You shall not be employed in any occupation, business, or profession, or participate in any volunteer activity which provides access
 to children under the age of 18, unless authorized by the supervising officer.

 25) You shall not access computers, computer networks, or other forms of wireless communications, or gain such access through third
 parties without prior approval of the supervising officer.

 26) You shall submit your person, residence, office, or vehicle to a search, conducted by a probation officer, at a sensible time and
 manner, based upon reasonable suspicion of contraband or evidence of violation of a condition of supervision. Failure to submit to
 search may be grounds for revocation. You shall warn persons with whom you share a residence that the premises may be subject to
 search.
              Case 2:14-cr-00128-RMP                       ECF No. 83          filed 06/01/21      PageID.322 Page 5 of 6
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'()(1'$17 * DUSTIN MASON BANDY, a/k/a DUSTIN M. MASON
&$6(180%(5 2:14-CR-00128-RMP-1
                                               CRIMINAL MONETARY PENALTIES
     7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                     Assessment                                            Fine                              Restitution
TOTALS               $100.00                                               $0.00                             $0.00


G   7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO                $QAmended Judgment in a Criminal Case $2& ZLOOEHHQWHUHG
    DIWHUVXFKGHWHUPLQDWLRQ

G   7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQ LQFOXGLQJFRPPXQLW\UHVWLWXWLRQ WRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ

    ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
    WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86& L DOOQRQIHGHUDOYLFWLPVPXVWEHSDLG
    EHIRUHWKH8QLWHG6WDWHVLVSDLG

Name of Payee                                                               Total Loss*        Restitution Ordered      Priority or Percentage




TOTALS                                                            0.00                              0.00


G    5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW

G    7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUHWKH
     ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86& I $OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
     WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86& J 

G    7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW

     G    WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRUWKH             G ILQH G UHVWLWXWLRQ
     G    WKHLQWHUHVWUHTXLUHPHQWIRUWKH           G   ILQH    G UHVWLWXWLRQLVPRGLILHGDVIROORZV


 )LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRURIIHQVHVFRPPLWWHGRQRUDIWHU
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               Case 2:14-cr-00128-RMP                      ECF No. 83          filed 06/01/21      PageID.323 Page 6 of 6
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           6KHHW²6FKHGXOHRI3D\PHQWV

                                                                                                         -XGJPHQW²3DJH     6      RI       6
'()(1'$17 * DUSTIN MASON BANDY, a/k/a DUSTIN M. MASON
&$6(180%(5 2:14-CR-00128-RMP-1

                                                       SCHEDULE OF PAYMENTS

+DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVDUHGXHDVIROORZV

A    G    /XPSVXPSD\PHQWRI                               GXHLPPHGLDWHO\EDODQFHGXH

          G      QRWODWHUWKDQ                                     RU
          G      LQDFFRUGDQFH           G     &      G   '   G     (RU    G     )EHORZRU

B    ✔
     G    3D\PHQWWREHJLQLPPHGLDWHO\ PD\EHFRPELQHGZLWK                 G &       G 'RU   ✔)EHORZ RU
                                                                                                   G
C    G    3D\PHQWLQHTXDO                    HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                      RYHUDSHULRGRI
                       HJPRQWKVRU\HDUV WRFRPPHQFH                 HJRUGD\V DIWHUWKHGDWHRIWKLVMXGJPHQWRU

D    G    3D\PHQWLQHTXDO                     HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                    RYHUDSHULRGRI
                        HJPRQWKVRU\HDUV WRFRPPHQFH                 HJRUGD\V DIWHUUHOHDVHIURPLPSULVRQPHQWWRD
          WHUPRIVXSHUYLVLRQRU

E    G    3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                  HJRUGD\V DIWHUUHOHDVHIURP
          LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

F    ✔
     G    6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV

     Defendant shall participate in the BOP Inmate Financial Responsibility Program. During the time of incarceration, monetary
     penalties are payable on a quarterly basis of not less than $25.00 per quarter.

     While on supervised release, monetary penalties are payable on a monthly basis of not less than $25.00 per month or 10% of the
     defendant's net household income, whichever is larger, commencing 30 days after the defendant is released from imprisonment.


8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLIWKLVMXGJPHQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHVLVGXH
GXULQJLPSULVRQPHQW$OOFULPLQDOPRQHWDU\SHQDOWLHVH[FHSW WKRVH SD\PHQWVPDGHWKURXJKWKH)HGHUDO%XUHDXRI3ULVRQV¶,QPDWH)LQDQFLDO
5HVSRQVLELOLW\3URJUDPDUHPDGHWRWKHIROORZLQJDGGUHVVXQWLOPRQHWDU\SHQDOWLHVDUHSDLGLQIXOO&OHUN86'LVWULFW&RXUW$WWHQWLRQ
)LQDQFH32%R[6SRNDQH:$

7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG

G    -RLQWDQG6HYHUDO

     &DVH1XPEHUV LQFOXGLQJGHIHQGDQWQXPEHU DQG'HIHQGDQWDQG&R'HIHQGDQW1DPHV7RWDO$PRXQW-RLQWDQG6HYHUDO$PRXQW
     DQGFRUUHVSRQGLQJSD\HHLIDSSURSULDWH




G    7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ

G    7KHGHIHQGDQWVKDOOSD\WKHIROORZLQJFRXUWFRVW V 

✔
G    7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV
      1) Dell Dimension 9150 Computer Tower Serial Number JRMJK91; 2) Thumb Drive 4GB White with “EWU” Markings Serial
      Number 1113s; 3) Pantech TXT Cell Phone; and 4) Ipod.

3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHU  DVVHVVPHQW  UHVWLWXWLRQSULQFLSDO  UHVWLWXWLRQLQWHUHVW  ILQHSULQFLSDO
  ILQHLQWHUHVW  FRPPXQLW\UHVWLWXWLRQ  SHQDOWLHVDQG  FRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQGFRXUWFRVWV
